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                                      UNITED STATES DISTRICT COURT
                                      NORTHERN DISTRICT OF ILLINOIS
                                            EASTERN DIVISION

UNITED STATES SECURITIES AND
EXCHANGE COMMISSION,

                   Plaintiff,                                          Case No. 14 C 3785

           v.

ROBERT G. PEARSON and ILLINOIS                                         Hon. Rebecca R. Pallmeyer
STOCK TRANSFER COMPANY (d/b/a IST                                      Magistrate Judge Young B. Kim
SHAREHOLDER SERVICES),

                   Defendants.

                                   RECEIVER’S FINAL STATUS REPORT

          Jill L. Nicholson, not individually but solely in her capacity as the court-appointed

receiver (the “Receiver”) for the estates of Illinois Stock Transfer Company d/b/a ist Shareholder

Services (the “Company”) and Robert G. Pearson (collectively, the “Receivership Estates”),

respectfully submits this Receiver’s Final Status Report (the “Report”) covering the period of

October 1, 2018 through January 30, 2019 (the “Reporting Period”) pursuant to paragraph 54 of

the Order Appointing Receiver entered on May 22, 2014 (the “Receiver Order”) and pursuant to

the Order Closing Receivership Estates, Discharging and Releasing Receiver, Authorizing

Related Activities, and Granting Related Relief entered on December 19, 2018 (the “Closure

Order”). For the Court’s convenience, a Table of Contents is provided below.

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I.       PROCEDURAL HISTORY

         On May 22, 2014, the United States Securities and Exchange Commission (the “SEC”)

commenced the above-captioned action (the “SEC Action”) against Pearson and the Company

(collectively, the “Receivership Defendants”) by filing a complaint (the “Complaint”) in the

United States District Court for the Northern District of Illinois (the “Court”). The SEC’s

Complaint alleges, inter alia, that Pearson and the Company commingled customer funds with

the Company’s funds and that Pearson and the Company misappropriated customer funds.

         The SEC filed several ex parte motions with its Complaint on May 22, 2014, all of which

were granted by the Court. [Dkt Nos. 11-15]. In particular, subsequent to the filing of the


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Complaint, the Court entered a Temporary Restraining Order (the “TRO”), an Asset Freeze

Order (the “Asset Freeze Order”), and the Receiver Order on May 22, 2014. On July 9, 2014,

the Court entered a judgment (the “Judgment”) against Pearson with Pearson’s consent. The

Judgment (a) enjoins Pearson from violating federal securities laws; (b) requires Pearson to

disgorge ill-gotten gains and to pay pre-judgment interest in an amount to be determined by the

Court upon motion of the SEC; and (c) extends the Asset Freeze Order against Pearson until

further order of the Court. [Dkt. No. 56]. On July 9, 2014, the Court also entered an order

extending the TRO and the Asset Freeze against the Company until further order of the Court.

[Dkt. No. 56].

II.    CREDITOR CLAIMS PROCEEDINGS

       On December 19, 2014, the District Court approved the Amended Liquidation Plan (the

“Amended Liquidation Plan”) filed by the Receiver which governed interim distributions to

those creditors with allowed claims (the “Allowed Claims”) against the Receivership Estates.

On December 10, 2018, the Court approved the Receiver’s Second Amended Liquidation Plan

(the “Second Amended Liquidation Plan”)1 which now governs all distributions to creditors with

Allowed Claims.

       A.        Claims Submitted

       All claims against the Receivership Estates have been resolved. The Receiver received

146 Proofs of Claim. Of this number, 132 Proofs of Claim were timely filed by the Claims Bar

Date. The Court also permitted one late-filed claim to be deemed timely filed, bringing the total

number of claims deemed timely filed and potentially entitled to distributions to 133. These 133

claims asserted an aggregate of $7,398,136.14 in liabilities against the Receivership Estates. The



       1
         To the extent defined terms herein may differ, the terms and definitions of the Second Amended
Liquidation Plan shall govern.
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Receiver also received an additional 13 late-filed claims. These 13 late-filed claims, however,

are precluded from any distributions under the Liquidation Plan.

       The final results of the Receiver’s claims adjudication process is as follows:

                                 FINAL CLAIMS BREAKDOWN

                   CATEGORY                                 NUMBER OF CLAIMS

     Allowed In Full Claims                                            88

     Disallowed In Full Claims                                         43

     Partially Disallowed/Allowed Claims                               15

        Total Claims Received (Including Late-
                                                                      146
                                 Filed Claims)


The Receiver allowed or partially allowed 70.55% of the 146 claims filed against the

Receivership Estates.

       B.     Additional IRS Claims

       In addition to the above-referenced claims, the IRS informed the Receiver in 2019 that it

believed the Company’s Receivership Estate was liable for tax liabilities that had been incurred

prior to the Receiver’s appointment. More specifically, the IRS contended that the Company had

tax liability in the amount of $759,000.00 for those years for which the Company failed to file

tax returns (collectively, the “Pre-Receivership Returns”).        After significant and detailed

negotiations, the parties entered into a settlement agreement (the “IRS Settlement”) which

provided that the IRS was to receive payment of $260,000.00 as a priority claim under the

Second Amended Liquidation Plan and a general unsecured claim of $499,000.00 that was to be

treated as a non-priority, unsecured Class IV Claim under the Second Amended Liquidation

Plan. On December 19, 2018, the Court approved the IRS Settlement and the Second Amended

Liquidation Plan that incorporated the terms of the IRS Settlement. The Receiver tendered

payment of the $260,000.00 under the IRS Settlement to the IRS on January 11, 2019. On
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January 24, 2019, the Receiver also sent the Form 56 Notice Concerning Fiduciary Relationship

to the IRS notifying the IRS of the Receiver’s termination of any fiduciary relationship in

connection with the Pearson Receivership Estate.

       C.     Final Allowed Claims

       Prior to the IRS Settlement, the original total dollar amount of the Allowed Claims

against the Receivership Estates was $6,380,606.29 (the “Initial Allowed Claims Amount”).

After the IRS Settlement, the total dollar amount of final allowed claims (the “Final Allowed

Claims”) against the Receivership Estates is $7,139,606.29. The chart below sets forth the

amount of the Final Allowed Claims under each of the Classes provided under the Second

Amended Liquidation Plan.

                                            ESTATE 1 - IST

                      CLASS                                    AMOUNT OF
                                                         FINAL ALLOWED CLAIMS

     Class I – Allowed Claims of Customers                    $6,010,339.42

     Class II – Allowed Claims of Vendors                      $105,419.85

     Class III – Allowed Claims of Employees                   $96,595.29

     Class IV – Allowed Claims of General                      $657,685.48
     Company Claimants

     Class V – Allowed Priority Claim of IRS
                                                               $260,000.00

       TOTAL ESTATE 1 FINAL ALLOWED
                                                              $7,130,040.04
                              CLAIMS




                                     ESTATE 2 - PEARSON

                      CLASS                                   AMOUNT OF

                                                  5
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                                                          FINAL ALLOWED CLAIMS

      Class I – Pearson General Claims                               $9,566.25

        TOTAL ESTATE 2 FINAL ALLOWED
                                                                     $9,566.25
                               CLAIMS


       In summary, the Receiver allowed $7,139,606.29 (or 87.52%) of the $8,157,136.14 in

liabilities asserted by claimants. The remaining 12.48% of claims were disallowed for a variety

of reasons, including, but not limited to: the claim had been asserted by more than one creditor

(e.g., the same claim was filed by both an issuer and a shareholder); the claim did not reconcile

with the books and records of the Company; the claimant failed to provide sufficient evidence or

information supporting the claim; and/or the claim was not supported by the law.

       D.      Status of Interim Distributions

               1.      The First Interim Distribution

       On August 31, 2015 a first interim distribution (the “First Interim Distribution”) from

Estate 1 was made. The First Interim Distribution provided for an initial recovery of 25% to

certain creditors holding Final Allowed Claims in Class I as of the date the Receiver authorized

the First Interim Distribution. The total First Interim Distribution from the Qualified Settlement

Fund was $824,324.65 paid to 67 creditors who held Class 1 Final Allowed Claims. Note that

claimants whose claims became Final Allowed Claims after the Receiver authorized the First

Interim Distribution received their pro rata share under the subsequent second interim

distribution detailed below.

               2.      The Second Interim Distribution

       On January 20, 2016 the Receiver made a second interim distribution (the “Second

Interim Distribution”) of $1,614,804.71 from Estate 1 and Estate 2.              The Second Interim

Distribution provided for distributions to Classes I, II, III, and IV under the Liquidation Plan.


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       Class I. The total Second Interim Distribution to Class I Final Allowed Claims from the

Qualified Settlement Fund was $1,579,804.73 paid to 85 Class I creditors.

       Classes II. Class II is comprised of all Final Allowed Claims of the Company’s vendors.

Pursuant to Section 2.04(B) of the Liquidation Plan, vendors holding such Final Allowed Claims

are entitled to their pro rata share of a $25,000.00 Vendor Carve Out. The Second Interim

Distribution included disbursement of the $25,000.00 Vendor Carve Out to 10 creditors who

held Class II Final Allowed Claims. The pro rata distribution on account of such claims was

23.71% ($24,999.98 / $105,419.85).        Because the distribution to vendors is capped at

$25,000.00, no further distributions to vendors will be made unless and until all creditors in

Class I with Final Allowed Claims have been paid in full.

       Class III.   Class III is comprised of all Final Allowed Claims of the Company’s

employees. Pursuant to Section 2.04(C) of the Liquidation Plan, employees holding such Final

Allowed Claims are entitled to their pro rata share of the $5,000.00 Employee Carve Out. The

Second Interim Distribution included disbursement of the Employee Carve Out to 3 creditors

who held Class III Final Allowed Claims. The pro rata distribution on account of such claims

was 5.18% ($5,000.00 / $96,595.29).       Because the distribution to employees is capped at

$5,000.00, no further distributions to employees will be made unless and until all creditors in

Class I and Class II with Final Allowed Claims have been paid in full.

       Class V. Class V is comprised of all Final Allowed Claims asserted against Pearson.

Pursuant to Section 2.06(A) of the Liquidation Plan, Pearson’s creditors holding such Final

Allowed Claims are entitled to their pro rata share of the $5,000.00 Pearson Carve Out. The

Second Interim Distribution included disbursement of the Pearson Carve Out to 1 creditor who

held a Class V Final Allowed Claim. The pro rata distribution on account of such claim was



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52.27% ($5,000.00 / $9,566.25).         Under the terms of the Liquidation Plan, no further

distributions may be made to Class V.

                3.    The Third Interim Distribution

       Class I. On August 29, 2016 the Receiver authorized a third interim distribution (the

“Third Interim Distribution”) of $781,344.14 from Estate I. The Third Interim Distribution was

paid to 85 Class I Final Allowed Claims from the Qualified Settlement Fund.

                4.    The Fourth Interim Distribution

       Class I. On December 1, 2017 the Receiver authorized a fourth interim distribution (the

“Fourth Interim Distribution”) of $300,516.97 from Estate I. The Fourth Interim Distribution

was paid to 85 Class I Final Allowed Claims from the Qualified Settlement Fund.

       The Third Interim Distribution provided for a 58% aggregate distribution to holders of

Final Allowed Claims in Class I. For purposes of clarity, creditors in Class I with Final Allowed

Claims received a First Interim of Distribution of 25%; a Second Interim Distribution of 15%; a

Third Interim Distribution of 13%; and a Fourth Interim Distribution of 5% thereby resulting in a

58% recovery.

                5.    The Distribution to the IRS

       On January 9, 2019 the Receiver authorized and paid the $260,000.00 distribution to the

IRS pursuant to the IRS Settlement and the Second Amended Liquidation Plan.

                6.    Summary Of Interim Distributions To Date

       As of January 30, 2019, the Receiver has authorized an aggregate distribution of

$3,780,990.47 to 100 holders of Final Allowed Claims as detailed as follows:




                       LIFE-TO-DATE INTERIM DISTRIBUTIONS

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                      CLASS                                AMOUNT         % DISTRIBUTION

Class I – Allowed Claims of Customers
(First Interim = $824,324.65)                             $3,485,990.49          58.00%
(Second Interim = $1,579,804.73)
(Third Interim = $781,344.14)
(Fourth Interim = $300,516.97)

Class II – Allowed Claims of Vendors                       $24,999.98            23.71%
(Capped at $25,000.00; May Receive Additional                                   (FINAL)
Distributions if Class I is paid in full)

Class III – Allowed Claims of Employees                    $5,000.00             5.18%
(Capped at $5,000.00; May Receive Additional                                    (FINAL)
Distributions if Classes I and II are paid in full)

Class IV – Allowed Claims of General Company                   0                  N/A
Claimants
                                                                                (FINAL)
(No Distribution until Classes I, II, and III are
Paid In Full)

Class V – Allowed Claims of Pearson (Capped at             $5,000.00             52.27%
$5,000.00; No further distributions permitted) –
                                                                                (FINAL)
FINAL

Class VI – Allowed Priority Claim of IRS                  $260,000.00            100%
(Capped at $260,000.00; No further distributions
                                                                                (FINAL)
permitted) – FINAL

  TOTAL DISTRIBUTIONS PAID (LIFE TO
                                                          $3,780,990.47
                              DATE)


          The Receiver has attached as Exhibit A the list of creditors who have received

  distributions to date under the Liquidation Plan. Exhibit A includes the following information:

  (1) Final Allowed Claim amount; (2) applicable Class under the Liquidation Plan; (3) claim

  number; (4) check number(s); (5) check issue date(s); (6) check issue amount(s); (7) whether the

  check(s) have cleared; (8) percentage of recovery on account of the Final Allowed Claim to date;

  and (9) name of the claimant holding the Final Allowed Claim. Exhibit A has not been publicly

  filed; however, a copy of Exhibit A has been tendered to chambers.
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                7.      Final Distribution

        The Receiver will be authorizing a final distribution within two weeks after the District

Court approves the final fee applications that will be filed on February 14, 2019.

III.    FINANCIAL AFFAIRS

        A.      The Qualified Settlement Fund

        The Receiver maintains a Qualified Settlement Fund. The Qualified Settlement fund

maintains a separate and independent tax identification number from the Company. As of

January 30 2019, the Receiver held $693,105.80 in the Qualified Settlement Fund. Note that the

$693,105.80 is after the deduction of expenses that have been paid in the amount of

$2,268,805.09 as itemized below and after the $260,000.00 payment to the IRS.

        B.      Expenses & Related Items

        Attached hereto as Exhibit B are the Receiver’s schedules of income and expenses.2 The

amount of administrative expenses and related items paid through January 30, 2019 is

$2,268,805.09. For the Court’s convenience, the following chart summarizes the nature of the

administrative expenses:

                            Type of Expenditure                           Amount
               Administration Fees (Wall Street Journal                  $23,439.57
               Publications Fees, Bank Fees, Stop Payment by
               Issuers, Asset Searches, Filing Fees, etc.)
               Building Expenses (Sanitation, Water, Gas,                $21,920.41
               Electric, Taxes, Mortgage, etc.)

        2
         Note that the names of employees on the schedule of expenses have been redacted to avoid
dissemination of employees’ salary and/or wage information. In addition, the amount of the AST
milestone payments has been redacted. The Receiver will be glad to provide an unredacted copy of these
schedules to chambers upon the Court’s request.

       Also note that the income and expense ledgers of Exhibit B include transfers among various
Receiver accounts. By way of example, on July 25, 2014, the Receiver transferred $5 million from the
Receiver’s bank account to the receivership’s Qualified Settlement Fund Account as a result of the
Shutdown of the Company. Such transfers are not expenses of the estates, but are identified solely for the
purpose of demonstrating to the Court the movement of funds among the receivership accounts.

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                          Type of Expenditure                          Amount
              Business and Operations Expenses (Postage,             $14,507.23
              Phone, Internet, Document Destruction,
              Independent Contracting Services, Document
              Storage Fees, etc.)
              Court-Appointed Professionals (Rossi;                 $1,858,660.16
              Teamwerks; DiMaria; R.E. Walsh &
              Associates; Foley & Lardner; Receiver; Shaw
              Fishman; Financial Advisors, LLC, etc.)
              Employee Related Expenses (Payroll,                    $121,759.39
              Withholding, Paychex Processing etc.)

              Insurance (Medical, E&O, Property, etc.)               $33,791.50
              Transtar Deconversion Fees                             $86,006.67
              Taxes (Tax Related Notices, etc.)                      $42,636.00
              Funds Distributed Per Turnover Agreement                $2,191.21
              with R. Pearson
              QSF (Claims Agent & QSF Administrative                 $63,892.95
              Fees)

                                                      TOTAL         $2,268,805.09

Detailed descriptions of each of these expenses are found in Exhibit B.

       C.      Final Fee Applications

       On February 14, 2019, final fee applications will be filed for the (a) Receiver; (b)

Receiver’s counsel Foley & Lardner LLP; and (c) Receiver’s accountant Kutchins, Robbins &

Diamond, Ltd. (successor by merger to Popowcer Katten, Ltd.) (“KRD”).               The amounts

requested by these professionals for the final fee applications include fees and expenses incurred

between September 1, 2018 through December 31, 2018 as well as the 20% professional fee

holdbacks for each of the professionals’ prior fee applications. The 20% holdbacks represent the

amounts incurred and awarded to the professionals for the nearly 4.7 years while this case has

been pending but that have not yet been paid. The final fee applications will also seek approval

of all interim amounts previously awarded on a final basis. The additional amount of fees

requested to be paid pursuant to the final fee applications will be as follows:

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                                    Fees                   Expenses             20% Holdback
                             10/1/18 – 12/31/18        10/1/18 – 12/31/18
KRD                                  $0                        $0                  $2,086.60
Receiver                         $18,370.00                    $0                 $173,508.50
Foley & Lardner                  $41,123.35                 $783.86               $210,140.58
            TOTAL                $59,493.35                 $783.86               $385,735.68

           The total amount to be requested from the professionals above, therefore, is $446,012.89.

Note that during the almost 4.7 years this case has been pending, neither the Receiver nor her

counsel raised any rates during the pendency of the case. As such, timekeepers such as the

Receiver and her counsel who were staffed in May of 2014 have not implemented any rate

increases and have frozen their rates as a courtesy to the Court, the SEC, and the Receivership

Estates for the last 4.7 years. No further fee applications will be filed in this case.

           The Closure Order entered by the Court has also created a $47,000.00 reserve (the

“Reserve”) to pay for anticipated administrative expenses necessary to effectuate the closure of

the Receivership Estate, including, inter alia, the retention and destruction of hundreds of boxes

of documents and computer equipment, dissolution of the Company, final QSF tax returns, and a

final distribution to claimants, among other tasks. To the extent any excess funds remain from

the Reserve, those funds will be turned over to the SEC or the Department of Justice, as the SEC

directs.

IV.        ADMINISTRATION OF THE RECEIVERSHIP ESTATES

           A.     Final Distribution

           The remaining balance of the QSF, after the payment of the final fee applications and the

deduction for the Reserve, will be paid to claimants who have Allowed Claims in Class I of the

Second Amended Liquidation Plan as a final distribution.               No further amounts will be

distributed.

           B.     Closure of the Receivership Estates


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          The Court has previously approved the closure of the Receivership Estates per the

Court’s Closure Order, pending the submission of this Final Report and the final fee applications

on February 14, 2019. Note, however, that pursuant to the Receiver Order, the Receiver is also

obligated to share a draft of all fee applications with counsel for the SEC prior to filing the

applications. The Receiver has provided a copy of the applications to the SEC. However, due to

the federal government shutdown as well as the District Court’s Amended General Order 18-

0028 (“General Order”) entered on January 8, 2019 regarding the stay of matters in which

federal agencies are involved, it is unclear whether the SEC will be in a position to review and

approve the applications. As a result, the Receiver will set the fee applications for hearing once

federal government operations are restored and the stay is lifted or if the SEC approves the relief

requested in the fee applications, whichever occurs first.         Given this unique situation, the

Receiver requests that upon the Court’s entry of orders approving the final fee applications, the

Court also enter an order indicating that the conditions for the Closure Order have occurred and

that all relief requested in the Closure Order has gone into effect as of the date the final fee

applications are approved.

          It has been the Receiver’s honor and privilege to serve at the direction of the Court in this

matter.

                                                        /s/ Jill L. Nicholson
                                                        Not individually, but solely as Receiver for
                                                        the Estates of Illinois Stock Transfer
                                                        Company and Robert G. Pearson
                                                        Foley & Lardner LLP
                                                        321 North Clark Street, Suite 2800
                                                        Chicago, IL 60654
                                                        Ph: (312) 832-4500
                                                        Fax: (312) 832-4700




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                                 CERTIFICATE OF SERVICE

                I, Jill L. Nicholson, hereby certify that on January 30, 2019, I caused to be
electronically filed the Receiver’s Final Status Report for the period October 1, 2018 through
January 30, 2019 which is being served electronically via the Court’s ECF system on all
registered parties of record listed below:
       •      AUSA - Chicago       USAILN.ECFAUSA@usdoj.gov
       •      Barbara Anne Mallon       bmallon@mallonandjohnson.com
       •      Barry I. Mortge     bmortge@mortgelaw.com
       •      Brian L. Shaw      bshaw@shawfishman.com
       •      Carl Douglas Thoresen      dougthoresen@outlook.com
       •      Christian J. Jorgensen jorgensen@dresslerpeters.com,
              jvayo@dresslerpeters.com, rmccandless@dresslerpeters.com
       •      Daniel J. Hayes     hayesdj@sec.gov, birkenheierj@sec.gov
       •      Dexter B. Johnson      djohnson@mallonandjohnson.com
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       •      Ira Bodenstein     ibodenstein@shawfishman.com, cowens@shawfishman.com
       •      James Douglas Newbold       james.newbold@illinois.gov
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       •      Justin Harold Lessner     jlessner@axley.com, awinch@axley.com
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       •      Rafael Rivera     RRivera@hinshawlaw.com
       •      Ryan S Taylor      RTaylor@tresslerllp.com
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       •       Steven Lee Klawans      klawanss@sec.gov
       •       Steven Marc Malina malinas@gtlaw.com, caswickc@gtlaw.com,
               CHILitDock@gtlaw.com
       •       Tracy W. Lo     lot@sec.gov
               I also hereby certify that on January 30, 2018, I caused a true and correct copy of
the foregoing document to be served via e-mail upon the following:

[via e-mail]
Randall W. Graff
Kopka Pinkus Donlin PC
550 Congressional Blvd., Ste. 310
Carmel, IN 46032
rwgraff@kopkalaw.com


               I also hereby certify that on January 31, 2018, I will cause a true and correct copy
of the foregoing document to be served via first class mail upon the following:

Robert Pearson
Register Number: 49150-424
FCI Terre Haute
4200 Bureau Road North
Terre Haute, Indiana 47808



                                                       /s/ Jill L. Nicholson




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                             EXHIBIT A
    SUBMITTED DIRECTLY TO CHAMBERS
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                              Exhibit B
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Case: 1:14-cv-03785 Document #: 460 Filed: 01/30/19 Page 26 of 36 PageID #:4599
Case: 1:14-cv-03785 Document #: 460 Filed: 01/30/19 Page 27 of 36 PageID #:4600
Case: 1:14-cv-03785 Document #: 460 Filed: 01/30/19 Page 28 of 36 PageID #:4601
Case: 1:14-cv-03785 Document #: 460 Filed: 01/30/19 Page 29 of 36 PageID #:4602
Case: 1:14-cv-03785 Document #: 460 Filed: 01/30/19 Page 30 of 36 PageID #:4603
Case: 1:14-cv-03785 Document #: 460 Filed: 01/30/19 Page 31 of 36 PageID #:4604
Case: 1:14-cv-03785 Document #: 460 Filed: 01/30/19 Page 32 of 36 PageID #:4605
Case: 1:14-cv-03785 Document #: 460 Filed: 01/30/19 Page 33 of 36 PageID #:4606
Case: 1:14-cv-03785 Document #: 460 Filed: 01/30/19 Page 34 of 36 PageID #:4607
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Case: 1:14-cv-03785 Document #: 460 Filed: 01/30/19 Page 36 of 36 PageID #:4609
